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                                UNITED STATES JUDICIAL PANEL
                                             on
                                 MULTIDISTRICT LITIGATION


  IN RE: JANUARY 2021 SHORT SQUEEZE
  TRADING LITIGATION                                                                   MDL No. 2989


                                         TRANSFER ORDER


           Before the Panel:* Plaintiffs in the Northern District of California Cheng action move
  under 28 U.S.C. § 1407 to centralize this litigation in the Northern District of California. This
  litigation consists of 39 actions pending in fourteen districts, as listed on Schedule A. 1 Since the
  filing of the motion, the parties have notified the Panel of fifteen related federal actions pending
  in ten districts. 2

          A majority of responding plaintiffs support centralization. Plaintiffs in twelve actions, and
  plaintiffs in one action in the alternative, support centralization in the Northern District of
  California. Plaintiffs in two actions and one potential tag-along action suggest alternative venues
  for this litigation: the District of the District of Columbia, the Southern District of Florida, and
  the Eastern District of New York. Plaintiffs in eleven actions did not file a brief in response to the
  motion, but submitted Notices of Waiver of Oral Argument indicating support for centralization
  with no position on district.

          Several plaintiffs either oppose centralization, in full or in part, or oppose their inclusion
  in any MDL. Plaintiffs in the Central District of California Gossett action request centralization
  of actions naming as defendants only the Robinhood entities and a small set of market makers
  and/or hedge funds. The Gossett plaintiffs oppose inclusion of any other actions in the MDL,
  particularly those alleging an industry-wide antitrust conspiracy. Plaintiffs in four Florida actions
  oppose centralization entirely. Alternatively, they request exclusion from the MDL. Plaintiffs in
  the Northern District of Illinois Lagmanson and District of New Jersey Muncy actions likewise
  request exclusion from any centralized proceedings.



  * Judges Catherine D. Perry and Dale A. Kimball did not participate in the decision of this matter.
  Additionally, one or more Panel members who could be members of the putative classes in this
  litigation have renounced their participation in these classes and have participated in this decision.
  1
      The motion initially listed 41 actions, two of which have been voluntarily dismissed.
  2
   These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
  and 7.2.
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          All responding defendants support centralization. Robinhood Markets, Inc., Robinhood
  Financial, LLC, and Robinhood Securities, LLC (collectively, Robinhood) support centralization
  in the Northern District of California or, alternatively, in the Middle District of Florida. The
  Charles Schwab Corporation, Charles Schwab & Co., Inc., TD Ameritrade, Inc., TD Ameritrade
  Clearing, Inc., and TD Ameritrade Holding Corporation (collectively, Schwab) support
  centralization in the Middle District of Florida. Defendants Apex Clearing Corporation,
  Candlestick Capital Management LP, and Melvin Capital Management LP support centralization
  in the Southern District of Texas or, alternatively, in the Middle District of Florida. Four other
  defendants did not file briefs in response to the motion, but submitted Notices of Waiver of Oral
  Argument indicating support for centralization in either of these districts. 3 Additionally, fourteen
  non-responding defendants filed Notices of Waiver of Oral Argument indicating support for
  centralization with no position on district. 4

           On the basis of the papers filed and the hearing session held, 5 we find that the actions listed
  on Schedule A involve common questions of fact, and that centralization in the Southern District
  of Florida will serve the convenience of the parties and witnesses and promote the just and efficient
  conduct of this litigation. These actions share factual questions arising from trading restrictions
  imposed by Robinhood and other brokers in late January 2021 in response to a dramatic rise in
  trading and share prices for a group of “meme stocks.” 6 The frenetic trading in these stocks by
  retail traders allegedly was spurred by members of a Reddit forum called “r/WallStreetBets,” who
  realized that, as the value of these securities increased, several major hedge funds and institutional
  investors that had taken short positions on these securities would be exposed to potentially ruinous
  losses (i.e., they were subject to a “short squeeze”). Beginning on January 28, 2021, however,
  certain on-line trading platforms primarily used by the retail traders—in particular, Robinhood—

  3
    These defendants are Ally Financial, Inc., Dough LLC, Stash Financial, Inc., and Tastyworks,
  Inc.
  4
   These defendants include: Alpaca Securities LLC; Barclays Bank PLC; Citadel Securities LLC;
  Citadel Enterprise Americas LLC; The Depository Trust Company; The Depository Trust &
  Clearing Corporation; eToro USA Securities, Inc.; E*Trade Financial Holdings LLC; E*Trade
  Financial Corporation; E*Trade Securities LLC; Morgan Stanley Smith Barney LLC; Open to the
  Public Investing, Inc.; Point72 Asset Management, L.P.; and Sequoia Capital Operations LLC.
  5
   In light of the concerns about the spread of the COVID-19 virus (coronavirus), the Panel heard
  oral argument by videoconference at its hearing session of March 25, 2021. See Suppl. Notice of
  Hearing Session, MDL No. 2989 (J.P.M.L. Mar. 8, 2021), ECF No. 240.
  6
    These meme stocks allegedly include: GameStop Corp. (GME); AMC Entertainment Holdings
  Inc. (AMC); American Airlines Group Inc. (AAL); Bed Bath & Beyond Inc. (BBBY); BlackBerry
  Ltd. (BB); Express, Inc. (EXPR); Koss Corporation (KOSS); Naked Brand Group Ltd. (NAKD);
  Nokia Corp. (NOK); Sundial Growers Inc. (SNDL); Tootsie Roll Industries, Inc. (TR); and
  Trivago N.V. (TRVG).
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 restricted the ability of retail investors to purchase the relevant securities. 7 Plaintiffs allege that
 these trading restrictions created a one-way sell situation and resulted in a steep decline in share
 prices for the meme stocks, which in turn caused plaintiffs economic injury and allowed the various
 institutional investors to cover their short positions in these securities.

         All the actions in this litigation arise from the trading restrictions imposed by the on-line
 trading platforms. At the center of this controversy is Robinhood, which, including potential tag-
 along actions, is named as a defendant in all but five actions. 8 The defendants in those five actions
 are named as defendants in several other actions along with Robinhood. These actions thus will
 entail common discovery of Robinhood, other broker defendants, and the various institutional
 investor and clearinghouse defendants. Nearly every action asserts similar claims for breach of
 contract, breach of fiduciary duty, breach of the implied covenant of good faith and fair dealing,
 and negligence. Numerous actions also assert causes of action under antitrust, securities, and state
 consumer protection laws. Similarly, there is significant overlap in the putative classes asserted
 in these actions, most of which include all Robinhood users affected by the trading restrictions.
 Centralization will eliminate duplicative discovery; prevent inconsistent pretrial rulings (including
 with respect to class certification); and conserve the resources of the parties, their counsel, and the
 judiciary.

         The opposing plaintiffs raise several arguments against centralization, but most of these
 stem from the differences in theories, claims, and defendants involved in this litigation. Some
 plaintiffs allege that Robinhood was inadequately capitalized and was unable to meet regulatory
 and clearinghouse deposit requirements. Others allege that Robinhood and other brokers restricted
 trading because they had financial ties to investors that had taken short positions in the meme
 stocks. Still others allege an industry-wide conspiracy to protect the institutional investors.
 Similarly, plaintiffs assert numerous causes of action sounding in the common law, antitrust law,
 securities law, and state consumer protection law against varied defendants. And while most
 actions name only Robinhood as a defendant, others name more than forty brokers, funds, and
 clearinghouses as defendants.


  7
    For instance, certain trading platforms allegedly disabled the “buy” functions on their websites
  and/or mobile applications. Some retail traders had their queued purchase orders cancelled without
  their consent, while others were unable to search for the relevant securities on certain platforms.
  8
    Three actions name only TD Ameritrade, Inc., one action names TD Ameritrade along with three
  Citadel entities, and one action names only Webull Financial LLC as a defendant. As mentioned,
  TD Ameritrade (a Schwab defendant) supports centralization, and Citadel filed a Notice of Waiver
  of Oral Argument indicating support for centralization. Plaintiffs in one of these actions also
  supports centralization, while plaintiff in another filed a Notice of Waiver of Oral Argument
  indicating support for centralization. Plaintiffs in the other three actions and Webull Financial did
  not respond to the motion. See Panel Rule 6.1(c) (“Failure to respond to a motion shall be treated
  as that party’s acquiescence to it.”).
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          This variation arises because the reasons why Robinhood and the other brokers imposed
  the trading restrictions on the meme stocks remain subject to dispute. The discovery necessary to
  bring certainty as to the brokers’ motivations and conduct will be similar across the actions and
  will benefit from centralized treatment. Excluding any one of these causes of action or defendants
  is problematic because many of the complaints assert causes of action in two or more of these areas
  and name defendants that overlap with other actions. For instance, the Gossett plaintiffs ask us to
  exclude the actions against the antitrust actions naming multiple non-Robinhood defendants, but
  many of those actions assert the same breach of contract and breach of fiduciary duty claims
  asserted in actions limited to Robinhood. Plaintiff in D. New Jersey Muncy asks that his claims
  under the Securities Exchange Act be excluded from the MDL, but other plaintiffs also assert
  claims under the Exchange Act, as well as common law claims and antitrust law claims. 9 We are
  not persuaded that individual issues relating to liability will overwhelm the common factual
  questions these actions present. In any event, attempting to separate actions by cause of action or
  named defendant is impracticable and would undermine the efficiencies to be obtained through
  centralized pretrial proceedings.

          Several of the opposing plaintiffs suggest that centralization of multiple defendants is
  inappropriate because this will raise trade secret and confidentiality concerns that could complicate
  and delay the litigation. Denying centralization would hardly alleviate any trade secret concerns,
  however, because many of these cases name multiple defendants. Moreover, we have not hesitated
  to centralize actions involving multiple, competing defendants where an industry-wide collusion
  or conspiracy is alleged. See, e.g., In re Generic Digoxin & Doxycycline Antitrust Litig., 222 F.
  Supp. 3d 1341, 1343 (J.P.M.L. 2017).

           Some of the opposing plaintiffs also argue that informal cooperation and coordination of
  similar cases can alleviate any overlap in the pretrial proceedings. But this litigation involves more
  than fifty cases and as many, if not more, involved counsel. Given the number of parties and
  counsel, centralization is the only practicable means of coordinating the pretrial proceedings in
  this litigation.

          The four Florida plaintiffs argue that centralization is not appropriate because they have
  agreed to file a consolidated complaint in Florida state court that asserts a single count for violation
  of the Florida Deceptive and Unfair Practices Act. Centralization, however, will not prevent
  plaintiffs from filing a state court action (which, of course, is not subject to centralization under
  Section 1407). To the extent the Florida plaintiffs’ actions remain in federal court, they share

  9
    Plaintiff in Muncy argues that the plaintiffs asserting these other Exchange Act claims have not
  perfected their claims under the Private Securities Litigation Reform Act (PSLRA). Whether
  plaintiffs have complied with the PSLRA is a disputed question best left to the transferee court to
  resolve. Likewise, whether other plaintiffs’ state law marketing and fraud claims are precluded by
  federal securities law is a merits question that we do not address. See In re Ivy, 901 F.2d 7, 9 (2d
  Cir. 1990) (“Section 1407 does not empower the MDL Panel to decide questions going to the
  jurisdiction or the merits of a case.”).
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  common factual questions regarding the Robinhood trading restrictions with numerous other
  actions in this litigation.

          Accordingly, we will not exclude any of the actions from this MDL. To be sure, this will
  be a complex litigation that will require careful management. The transferee court, though, can
  employ any number of pretrial techniques—such as establishing claim-specific or defendant
  specific tracks and creating an attorney leadership structure that reflects the differences in the
  claims—to manage the differences that these actions may present. And, if the transferee court
  determines that coordinated or consolidated pretrial litigation of any action or group of actions will
  not enhance justice and efficiency, the transferee court can suggest Section 1407 remand with a
  minimum of delay. See Panel Rules 10.1–10.3.

          The Southern District of Florida is an appropriate transferee district for this litigation.
  There are ten Short Squeeze actions pending in Florida, four of which are in the Southern District.
  According to the parties, some of the events central to this litigation—in particular, Robinhood
  Securities’ decision to restrict trading on the meme stocks, took place in Florida. The Southern
  District of Florida is a relatively convenient and accessible forum, with the resources and the
  capacity to efficiently handle what may be a large and complex litigation. The Honorable Cecilia
  M. Altonaga, to whom we assign this litigation, is an able jurist with multidistrict litigation
  experience. We are confident that Judge Altonaga will steer this litigation on an efficient and
  prudent course.

         IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
  the Southern District of Florida are transferred to the Southern District of Florida and, with the
  consent of that court, assigned to the Honorable Cecilia M. Altonaga for coordinated or
  consolidated pretrial proceedings.

                                            PANEL ON MULTIDISTRICT LITIGATION




                                                             Karen K. Caldwell
                                                                 Chair

                                        Nathaniel M. Gorton                 Matthew F. Kennelly
                                        David C. Norton                     Roger T. Benitez
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  IN RE: JANUARY 2021 SHORT SQUEEZE
  TRADING LITIGATION                                                MDL No. 2989


                                     SCHEDULE A

                   Central District of California

       KAYALI, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 2:21-00835
       GOSSETT, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 2:21-00837

                   Northern District of California

       WIEG v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 4:21-00693
       DAYS v. ROBINHOOD MARKETS, INC., ET AL., C.A. No. 4:21-00696
       DALTON v. ROBINHOOD SECURITIES, LLC, ET AL., C.A. No. 4:21-00697
       KRASOWSKI, ET AL. v. ROBINHOOD FINANCIAL LLC, ET AL.,
            C.A. No. 4:21-00758
       CEZANA v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 4:21-00759
       CHENG, ET AL. v. ALLY FINANCIAL INC., ET AL., C.A. No. 4:21-00781
       CURIEL-RUTH v. ROBINHOOD SECURITIES LLC, ET AL., C.A. No. 4:21-00829
       FEENEY, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00833
       KRUMENACKER v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00838
       MOODY, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00861

                   Southern District of California

       NORDEEN, ET AL. v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 3:21-00167

                   District of Colorado

       DANIELS v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 1:21-00290

                   District of Connecticut

       ZIEGLER v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 3:21-00123
       FRESA v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 3:21-00134

                   Middle District of Florida

       DIAMOND v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 6:21-00207
       SCHAFF v. ROBINHOOD MARKETS, INC., ET AL., C.A. No. 8:21-00216
       SCHAFF v. TD AMERITRADE, INC., C.A. No. 8:21-00222
       PERRI, ET AL. v. ROBINHOOD MARKETS, INC., ET AL., C.A. No. 8:21-00234
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                   Northern District of Florida

       BAIRD v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 4:21-00061

                   Southern District of Florida

       COURTNEY v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 0:21-60220
       FRAY v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 0:21-60226
       JUNCADELLA v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 1:21-20414
       SCALIA v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 9:21-80238

                   Northern District of Illinois

       GATZ v. ROBINHOOD FINANCIAL, LLC, C.A. No. 1:21-00490
       KAYALI, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 1:21-00510
       LAGMANSON, ET AL. v. ROBINHOOD MARKETS, INC., ET AL.,
            C.A. No. 1:21-00541
       CHERRY v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 1:21-00574
       HISCOCK v. TD AMERITRADE, INC., C.A. No. 1:21-00624

                   District of New Jersey

       ZYBURA v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 2:21-01348
       MUNCY v. ROBINHOOD SECURITIES, LLC, ET AL., C.A. No. 2:21-01729
       NOORZAIE v. ROBINHOOD MARKETS, INC., ET AL., C.A. No. 3:21-01361

                   Southern District of New York

       NELSON v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 1:21-00777
       WILLIAMS v. WEBULL FINANCIAL LLC, C.A. No. 1:21-00799

                   Eastern District of Pennsylvania

       MINNICK, ET AL. v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 2:21-00489

                   Southern District of Texas

       ROSS, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00292
       NG, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00311

                   Eastern District of Virginia

       LAVIN v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 1:21-00115
